               Case 1:23-cr-00170-LMB Document 11 Filed 10/25/23 Page 1 of 1 PageID# 24

AO 442 (Rev. 11/11)'Arrest Warrant
                                                                                                       \V\3t3'5V^\
                                          United States District Court
                                                                for the

                                                      Eastern District of Virginia


                      United States of America
                                                                                                                             ^ 5: 08
                                     V.
                      ANDREW DAVID KRUEGER
                                                                          Case No. 1:23-CR-170

                                                                              Under Seal
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                                                                                                                        c_o


                                                                                                                        r->
                            Defendant                                                                                   —J               . rw
                                                                                                                        ro
                                                                                                                        ST"
                                                     ARREST WARRANT
                                                                                                                       33.

To:       Any authorized law enforcement officer
                                                                                                                                i' ■')
                                                                                                                       CO
          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without uffllecessary delay
(name ofperson to be arrested)        ANDREW DAVID KRUEGER                                                                                      ,
who is accused of an offense or violation based on the following document fi led with the court:

^ Indictment              □ Superseding Indictment        □ Information       □ Superseding Information             □ Complaint
□ Probation Violation Petition             □ Supervised Release Violation Petition     □ Violation Notice           O Order of the Court

This offense is briefly described as follows:
  Receipt of child pornography In violation ofTitle18. United States Code, Sections 2252(a)(2) and(b)(1), possession of child
  pornography, In violation of Title 18, United States Code, sections 2252(a)(4)(B) and (b)(2), and possession of child
  pornography in violation of Title 18, United States Code, sections 2252(a)(4)(B) and (b)(2)




                                                                                         issuing officer's signature

City and state:         Alexandria. Virginia                                         i C} /'j                f)f yjC/

                                                                Return


          This warrant was received on (date) 10/2472^2.6             , and the person was arrested on (date) | 0 /ZG/T-OZ^
at (city and state)


Date: iOjlShpili                                                                                         '
                                                                                       Trffesting officer's signature


                                                                                                             V&[
                                                                                         \ Printed name and title
